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     In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1134V
                                          UNPUBLISHED


    ETHEL LOVE,                                                 Chief Special Master Corcoran

                         Petitioner,                            Filed: August 31, 2021
    v.
                                                                Special Processing Unit (SPU); Joint
    SECRETARY OF HEALTH AND                                     Stipulation on Damages; Influenza
    HUMAN SERVICES,                                             (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                         Respondent.                            (SIRVA)


Paul R. Brazil, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Alexa Roggenkamp, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION ON JOINT STIPULATION1

        On August 5, 2019, Ethel Love filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleges that she suffered left shoulder injuries related to vaccine
administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she received on
October 14, 2016. Petition at 1; Stipulation, filed at August 31, 2021, ¶¶ 2, 4. Petitioner
further alleges that her vaccine injury lasted more than six months. Petition at ¶ 23.
Respondent denies that “petitioner sustained the onset of a left shoulder injury within the
time period set forth in the Table; denies that the vaccine caused petitioner’s alleged
injuries or any other injury or petitioner’s current disabilities; and denies that petitioner
sustained a SIRVA Table injury.” Stipulation at ¶ 6.

       Nevertheless, on August 31, 2021, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. I find the stipulation
reasonable and adopt it as my decision awarding damages, on the terms set forth therein.

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, I award the following
compensation:

        A lump sum of $63,500.00, in the form of a check payable to Petitioner.
        Stipulation at ¶ 8. This amount represents compensation for all items of damages
        that would be available under Section 15(a). Id.

       I approve the requested amount for Petitioner’s compensation. In the absence of
a motion for review filed pursuant to RCFC Appendix B, the clerk of the court is directed
to enter judgment in accordance with this decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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                   IN THE UNITED STA TES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS


 ETHEL LOVE,

                  Petitioner,                             No. 19-1134V
                                                          Chief Special Master Corcoran
 v.                                                       ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                  Respondent.


                                           STIPULATION

 The parties hereby stipulate to the following matters:

        1.    Petitioner, Ethel Love, filed a petition for vaccine compensation under the National

Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 to 34 (the ''Vaccine Program").

The petition seeks compensation for injuries allegedly related to petitioner's receipt of the

Influenza ("flu") vaccine, which vaccine is contained in the Vaccine Injury Table (the

"Table"), 42 C.F.R. § 100.3 (a).

       2.     Petitioner received the vaccine on or about October 14, 2016.

       3.     The vaccine was administered within the United States.

       4.     The petition alleges that petitioner suffered from a left shoulder injury related to

vaccination administration ("SIRVA") as a resuh of receiving the flu vaccine.

       5.     Petitioner represents that there has been no prior award or settlement of a civil

action for damages arising out of the alleged vaccine injury.

       6.     Respondent denies that petitioner sustained the onset of a left shoulder injury

within the time period set forth in the Table; denies that the vaccine caused petitioner's alleged
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injuries or any other injury or petitioner's current disabilities; and denies that petitioner

sustained a SIRVA Table injury.

        7.     Maintaining their above-stated positions, the parties nevertheless now agree that the

issues between them shall be settled and that a decision should be entered awarding the

compensation described in paragraph 8 of this Stipulation.

        8. As soon as practicable after an entry of judgment reflecting a decision consistent

with the terms of this Stipulation, and after petitioner has filed an election to receive

compensation pursuant to 42 U.S.C. § 300aa-21(a)(l), the Secretary of Health and Human

Services will issue the following vaccine compensation payment:

         A lump sum of $63,500.00 in the form of a check payable to petitioner. This
         amount represents compensation for all damages that would be available under 42
         U.S.C. § 300aa-15(a).

             9. As soon as practicable after the entry of judgment on entitlement in this case, and

after petitioner has filed both a proper and timely election to receive compensation pursuant to

42 U.S.C. § 300aa-2l(a)(l), and an application, the parties will submit to further proceedings

before the special master to award reasonable attorneys' fees and costs incurred in any

proceeding upon this petition.

             10. Petitioner and petitioner's attorney represent that compensation to be provided

pursuant to this Stipulation is not for any items or services for which the Program is not

primarily liable under 42 U.S.C. § 300aa-15(g), to the extent that payment has been made or

can reasonably be expected to be made under any State compensation programs, insurance

policies, Federal or State health benefits programs (other than Title XIX of the Social Security

Act (42 U.S.C. § 1396 et seq.)), or by entities that provide health services on a pre-paid basis,

and represent that they have identified to respondent all known sources of payment for items or
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services for which the Program is not primarily liable under 42 U.S.C. § 300aa-15(g).

          11. Payment(s) made pursuant to paragraph 8 and any amounts awarded pursuant to

paragraph 9 of this Stipulation will be made in accordance with 42 U.S.C. § 300aa-15(i),

subject to the availability of sufficient statutory funds.

          12. The parties and their attorneys further agree and stipulate that, except for any

a ward for attorneys' fees and litigation costs, and past unreimbursable expenses, the money

provided pursuant to this Stipulation will be used solely for the benefit of petitioner as

contemplated by a strict construction of 42 U.S.C. § 300aa-15(a) and (d), and subject to the

conditions of 42 U.S.C. § 300aa-15(g) and (h).

          13. In return for the payments descnbed in paragraphs 8 and 9, petitioner, in

petitioner's individual capacity, and on behalf of petitioner's heirs, executors, administrators,

successors or assigns, does forever irrevocably and unconditionally release, acquit and

discharge the United States and the Secretary of Health and Human Services from any and all

actions or causes of action (including agreements,judgments, claims, damages, loss of

services, expenses and all demands of whatever kind or nature) that have been brought, could

have been brought, or could be timely brought in the United States Court of Federal Claims,

under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10 et seq., on

account of, or in any way growing out of, any and all known or unknown, suspected or

unsuspected personal injuries to or death of petitioner resulting from, or alleged to have

resulted from, the vaccination as alleged by petitioner in a petition for vaccine compensation

filed on or about August 5, 2019, in the United States Court of Federal Claims as petition No.

19-1134V.

         14. If petitioner should die prior to entry of judgment, this agreement shall be
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voidable upon proper notice to the Court on behalf of either or both of the parties.

         15. If the special master fails to issue a decision in complete conformity with the

terms of this Stipulation or if the United States Court of Federal Claims fails to enter judgment

in conformity with a decision that is in complete conformity with the terms of this Stipulation,

then the parties' settlement and this Stipulation shall be voidable at the sole discretion of either

party.

         16. This Stipulation expresses a full and complete negotiated settlement of liability

and damages claimed under the National Childhood Vaccine Injury Act of 1986, as amended,

except as otherwise noted in paragraph 9 above. There is absolutely no agreement on the part

of the parties hereto to make any payment or to do any act or thing other than is herein

expressly stated and clearly agreed to. The parties further agree and understand that the award

descnbed in this Stipulation may reflect a compromise of the parties' respective positions as to

liability and/or amount of damages, and further, that a change in the nature of the injury or

condition or in the items of compensation sought, is not grounds to modify or revise this

agreement.

         17. This Stipulation shall not be construed as an admission by the United States or the

Secretary of Health and Human Services that the vaccine caused petitioner's alleged injury or

any other injury or petitioner's current condition.

         18. All rights and obligations of petitioner hereunder shall apply equally to

petitioner's heirs, executors, administrators, successors, and/or assigns.

                                    END OF STIPULATION
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Respectfully submitted,

PETITIONER:



ETHEL LOVE


ATTORNEY OF RECORD                      AUTBORIZJtD REPRESENTATIVE
FOR PETITIONER:                         OF THE ATTORNEY GENERAL:


~     Q                                 ~~~~
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AUTHORIZED REPRESENTATIVE               ATTORNEY OF RECORD FOR
OF THE SECRETARY OF HEALTH              RESPONDENT:
AND HUMAN SERVICES:


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Dated:   og/31/~      /

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